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SHREVEPORT DIVISION

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8 18 U.s.o. § 1956(h)
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8 18 U.s.o. §§ 981(3)(1)(0), 982(3)(2)
8 18 U.s.C. § 982(a)(1)
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MAGISTRATE JUDGE HORNSBY

GREGoRY ALAN sMITH (01)
KIRBYJoN H. CALDWELL (02)

INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
18 U.S.C. § 1349
(Conspiracy to Commit Wire Fraud)
AT ALL TIMES HEREIN RELEVANT:
I. BACKGROUND

A. The Defendant, GREGORY ALAN SMITH ("SMITH"), Was a
Shreveport, Louisiana based financial planner Who operated and managed Smith
Financial Group, LLC. SMITH represented himself to be an investment advisor.

B. The Defendant, KIRBYJON H. CALDWELL ("CALDW'ELL"), Was a
pastor and businessperson based in Houston, Texas. CALDWELL Was a member of
LDT, LLC, (“LDT”) a Wyoming limited liability company.

C. Historical Chinese bonds (“the Bonds”) Were bonds issued by the former

Republic of China prior to losing power to the Communist government in 1949. The

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Bonds are not recognized by China’s current government, the People’s Republic of
China, and accordingly are considered memorabilia with no investment value.

D. Amegy Bank of TeXas account #9603 was the personal savings account
of KIRBYJON H. CALDWELL.

E. Capital One N.A. account #0066 was a business checking account in the
name of LDT, LLC with KIRBYJON H. CALDWELL as the signatory authority.

F. J.P. l\/lorgan Chase Bank, N.A. account #6100 is a trust account which
was controlled by a third party known to the Grand Jury.
II. THE CONSPIRACY

Beginning on or about January 1, 2013, and continuing until the present, in
the Western District of Louisiana and elsewhere, the Defendants, GREGORY ALAN

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SMITH and KIRB' JO` 11. uALD\/'\/"ELL, and others known and unknow 1 t‘A

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Grand Jury, did knowingly and intentionally conspire to violate Title 18, United
States Code, Section 1343, namelyz to knowingly devise a scheme and artifice to
defraud investors and to obtain money and property, by means of materially false and
fraudulent, pretenses, representations and promises, and for the purpose of executing
such scheme and artifice, to cause to be transmitted by means of wire
communications in interstate commerce, writings, signs, signals, pictures and

sounds.

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III. THE OBJECT OF THE CONSPIRACY
The object of the conspiracy was for the Defendants, GREGORY ALAN
SMITH and KIRBYJON H. CALDWELL, to fraudulently obtain money from

individual investors for their own use.

IV. l\/IANNER AND l\/lEANS OF THE CONSPIRACY AND THE SCHEl\/[E AND
ARTIFICE TO DEFRAUD

lt was part of the conspiracy and the scheme and artifice to defraud that
defendants, GREGORY ALAN SMITH and KIRBYJON H. CALDWELL, did work
together to solicit individuals to invest in the Bonds. SMITH and CALDWELL would
use their respective positions as an investment advisor and pastor in order to gain
the trust of their victims SMITH and CALDWELL solicited investments from these
individuals, by purporting to offer the Bonds with high rates of returns As part of
the scheme, the defendants would represent to investors that CALDW'ELL had or
was acquiring the Bonds and was brokering a deal to sell them for a large profit.
Based upon these fraudulent misrepresentations, investors sent funds to
CALDWELL and others known and known to the Grand Jury via wire transfer.
However, after receiving investor funds, SlVIITH, CALDWELL, and others known
and unknown to the Grand Jury, misappropriated those funds to pay personal loans
and credit cards, purchase vehicles, pay mortgages, and for other personal expenses
After the investment was made, SMITH and CALDVVELL called and sent emails to
investors, in which they lulled the investors into leaving their money with them and

continued to misrepresent authenticity of the bonds, that the transactions would still

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occur, and the investors would receive their promised returns. SMITH and
CALDWELL engaged investors as follows:

A. SMITH approached D.P. in 2014 to invest in the Bonds. SMITH was
D.P.’s financial advisor. SMITH promised D.P. a return on investment of an amount
representing 15 times his original investment Within 30 to 60 days. Based on this and
other false representations by SMITH, on April 8, 2014, P.P. invested $60,000 by
wiring the funds to Capital One N.A. account #0066. Furthermore, based on the
representations of SMITH, D.P.’s spouse, P.P., also invested $50,000 on April 8, 2014
by wiring the funds Capital One N.A. account #0066. On or about April 21, 2014, D.P.

cashed an annuity and wired and additional $190,000 to Capital One N.A. account

#0066.

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informed that CALDWELL, a prominent TeXas pastor and businessman, was
putting together a deal with the Bonds. SMITH promised J.G. that if he invested
$500,000 he would receive $3,000,000. As part of the transaction, J.G. was provided
a “Participation Agreement” which outlined the terms of the investment The
“Participation Agreement” stated that CALDWELL “will have partial ownership in
certain Phase 2 Chinese historical bonds” and J.G. was investing in “partial
ownership of the Bonds.” The document purported to be an agreement between J.G.
and CALDWELL. Based on the false representations on September 15, 2014, J.G.
wired $500,000 to J.P. l\/.[organ Chase Bank, N.A. account #6100, controlled by a third

party known to the Grand Jury. Upon receipt of the funds, the third party sent the

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money, Via wire transfer, to CALDWELL, SlVIITH, and others known and unknown
to the Grand Jury. After wiring the funds, J.G. attempted to get a refund of his
investment ln doing so, J.G. spoke with CALDWELL who then offered to increase
J.G.’s return to $4,500,000 if he did not seek a refund. ln 2017 , J.G. again attempted
to get a refund of his money and had a telephone call with CALDWELL and SMITH.
CALDWELL informed him that he did not have the money to return.

C. SlVIITI~I approached J.P. in early 2013 to invest in the Bonds with
CALDWELL. SlV.[ITH promised J.P. that if he would invest $50,000, he would see a
return on his investment of $3,000,000 within two weeks. J.P. was provided with a
“Participation Agreement” between himself and CALDWELL that outlined the
investment and return. Based on false representations, on April 15, 2013, J.P. wired
350,000 to Amegy Bank of Texas account #9603.

D. SMITH presented another opportunity to J.P. in June of 2013 to invest
an additional return on his investment of $3,150,000 within two weeks Based on
false representations of SMITH, on June 18, 2013, J.P. wired $51,500 to J.P. l\/.[organ
Chase Bank, N.A. account #6100, controlled by a third party known to the Grand
Jury. The third party sent the money, via wire transfer, to CALDWELL, SMITH,
and others known and unknown to the Grand Jury.

E. SMITH presented yet another opportunity to J.P. in August of 2014 to
invest in the Bonds. SMITH told J.P. that if he would invest another $25,000, he

would see an additional return on his investment of $125,000 within two weeks. J.P.

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was provided with another “Participation Agreement” between himself and
CALDWELL that outlined the investment and return. Based on false
representations on August 26, 2014, J.P. wired another $25,000 to J.P. l\/lorgan
Chase Bank, N.A. account #6100, controlled by a third party known to the Grand
Jury. The third party sent the money, via wire transfer, to CALDWELL, SMITH,
and others known and unknown to the Grand Jury. On July 2, 2015, J.P. emailed
CALDWELL to request a refund of amounts invested. On September 2, 2015, J.P.
emailed CALDWELL again to request a refund of amounts invested. ln response,
CALDW'ELL promised to refund the investment On September 23, 2015, J.P.
received a $25,000 wire transfer from the operating account of Windsor Village
United l\/lethodist Church, the church which CALDWELL serves as the pastor.

F. SIVIITH and CALD`WELL continued to represent to investors that the
bonds were legitimate and the investors would receive their money. On March 28,
2016, CALD\NELL sent a lulling email to investor R.C. in which he stated that an
attorney on the bond transaction was “1000 percent (not 100percent) confident re the
$ tomorrow.” On January 3, 2013, SMITH forwarded an email from CALDWELL to
investors, which stated “money will start moving this week” and “you will be satisfied
financially.”

All in violation of Title 18, United States Code, Section 1349 [18 U.S.C. § 1349]

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COUNTS 2 - 7
18 U.S.C. § 1343
(Wire Fraud)

A. The allegations in Count 1 are incorporated by reference as though fully
set forth herein as the scheme and artifice to defraud.

B. On or about the dates set forth below, in the Western District of
Louisiana and elsewhere, the Defendants, GREGORY ALAN SMITH and
KIRBYJON H. CALDWELL, and others known and unknown to the Grand Jury,
devised and intended to devise a scheme to defraud, and to obtain money and property
by means of materially false and fraudulent pretenses, representations and promises,
and for the purpose of executing the scheme, caused to be transmitted by means of
wire communication in interstate commerce, the signals and sounds described below
for each count, to wit: an electronic transfer of funds from an investor bai k accou 1

in Louisiana to the listed bank account in the Houston, Texas area:

 

 

 

 

 

 

 

 

 

 

 

 

Count Date of lnvestor _A_mount Receiving
Transfer Electronically Bank Account
Transferred
2 4/19/2013 R.S. $180,000 Chase #6100
Capital One N.A.
3 4/8/2014 P.P. $50,000 #0066
Capital One N.A.
. . . . 1
4 4/8/2014 R C & N C $ 50,000 #0066
Capital One N.A.
5 4/21/2014 D.P. $190,000 #0066
6 6/1'7/2014 l\/l.l\/[. 3125,000 Chase #6100
7 8/26/2014 J.P. $25,000 Chase #6100

 

 

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All in violation of Title 18, United States Code, Sections 1343 and 2. [18 U.S.C. §

1343 & 2].
COUNT 3
13 U.S.C. § 1956(h)
(Conspiracy to Commit l\/loney Laundering)
A. The allegations in Counts 1 - 7 are incorporated by reference as though

fully set forth herein.

B. From on or about January 1, 2013 through December 31, 2015, in the
Western District of Louisiana and elsewhere, the defendants, GREGORY ALAN
SMITH and KIRBYJON H. CALDWELL, did knowingly combine7 conspire, and
agree with each other and with other persons known and unknown to the Grand Jury
to commit offenses against the United States in violation of Title 18, United States
Code, Sections 1956(h) and 1957 , to wit: to knowingly engage and attempt to engage,
in monetary transactions by, through or to a financial institution, affecting interstate
and foreign commerce, in criminally derived property of a value greater than $10,000,
such property having been derived from specified unlawful activity, that is, the
proceeds of conspiracy to commit wire fraud and wire fraud, in violation of Title 18,
United States Code, Section 1957

All in violation of Title 18, United States Code, Section 1956(h). [18 U.S.C. §

1958(h)].

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COUNTS 9 - 11
18 U.S.C. § 1957
(l\/loney Laundering)

On or about the dates set forth below, in the Western District of Louisiana, and
elsewhere, the defendants GREGORY ALAN SMITH and KIRBYJON H.
CALDWELL, did knowingly engage and attempt to engage in the following monetary
transaction by through or to a financial institution, affecting interstate or foreign
commerce, in criminally derived property of a value greater than $10,000, that is, by
transferring or causing to be transferred, from Capital One N.A. account (ending in
0066), controlled by CALDWELL, into the below listed accounts of GREGORY

ALAN SMITH, such property having been derived from a specified unlawful activity,

that is, conspiracy to commit wire fraud and wire fraud, as alleged in Counts 1

 

 

 

 

through 7:
Count Date Monetary Receiving
Transactlon Account
Community Bank
9 April 15, 2014 $50,000 of Louisiana
(#0200)
10 April 15, 2014 850,000 Rez;)§l§?]§?“k
Community Bank
11 April 24, 2014 $62,500 of Louisiana
(#0200)

 

 

 

 

 

 

All in violation of Title 13, United States Code, Sections 1957 and 2. [18 U.S.C. §§

1957 and 2].

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COUNT 12
18 U.S.C. § 1957
(l\/[oney Laundering)

On or about January 22, 2014, in the Western District of Louisiana, and
elsewhere, the defendant GREGORY ALAN SMITH, did knowingly engage and
attempt to engage in the following monetary transaction by through or to a financial
institution, affecting interstate or foreign commerce, in criminally derived property
of a value greater than $10,000, that is, did issue or cause to be issued, check number
5091, drawn on the Regions Bank account (ending in 397 2), and made payable to
Holmes European l\/lotors, located in Shreveport, Louisiana, in the amount of

$111,356.05, for the purchase of a 2014 Range Rover Sport HSE, such property

having been derived from specified unlawful activity, that is, conspiracy to commit

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wire fraud and wire fraud, as alleged i

All in violation of Title 18, United States Code, Section 1957). [18 U.S.C. §

1957]
COUNT 13
18 U.S.C. § 1957
(l\/loney Laundering)

On of about September 18, 2014, in the Western District of Louisiana7 and
elsewhere, the defendant KIRBYJON H. CALDWELL, did knowingly engage and
attempt to engage in the following monetary transaction by through or to a financial
institution, affecting interstate or foreign commerce, in criminally derived property
of a value greater than 310,000, that is, did engage in a monetary transaction, by

causing an electronic payment to be made in the amount of 864,979.52 from

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CALDWELL’s Amegy account (ending in 9603) to pay off CALDWELL’S personal
Amegy Signature Line of Credit (ending in 7384), such property having been derived
from a specified unlawful activity, that is, conspiracy to commit wire fraud and wire
fraud, as alleged in Counts 1 through 7 .

All in violation of Title 18, United States Code, Section 1957). [18 U.S.C. §

1957}

FORFEITURE ALLEGATION
A. The allegations in Counts 1 - 13 of this Indictment are re-alleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18,
United States Code, Sections 982(a)(2), 982(a)(1), 981(a)(1)(C), and Title 28, United
States Code, Section 2461(c)
B. Upon conviction of an offense set forth in Counts 1 ~ 7, in violation of
Title 18, United States Code, Sections 1343, 1349, the defendants, KIRBYJON H.
CALDWELL and GREGORY ALAN SMITH, shall forfeit to the United States of
America, pursuant to Title 18, United States Code, Sections 982(a)(2) and
981(a)(1)(C) and Title 28, United States Code, Section 2461(0), any property, real or
personal, constituting or derived from proceeds the Defendants obtained directly or
indirectly as the result of said violations as set forth in this lndictment, including,
but not limited to, the following:
1. KIRBYJON H. CALDWELL
Real property located at 211 Heritage Oaks Lane7 Houston, Texas
77024, including all improvements thereon and appurtenances

thereto, and described as follows: LOT THREE (3), OF
HERITAGE OAKS, AN ADDlTION IN HARRIS COUNTY,

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TEXAS, ACCORDING TO THE l\/IAP OR PLAT THEREOF
RECORDED IN VOLUME 123, PAGE 21, OF THE MAP
RECORDS OF HARRIS COUNTY, TEXAS; and

2. GREGORY ALAN SMITH

Real property located at 9946 Burgundy Oaks Drive, Shreveport,
Louisiana 71118, including all improvements thereon and
appurtenances thereto, and described as follows: LOTS 113 &
114, BURGUNDY OAKS SUBDIVISION, UNIT NO. 10.

C. Pursuant to Title 18, United States Code, Section 982(a)(1), upon
conviction of an offense in violation of Title 18, United States Code, Sections 1956 and
1957, as alleged in Counts 8 - 13, the defendants, KIRBYJON H. CALDWELL and
GREG()RY ALAN SMITH, shall forfeit to the United States of America all right,
title, and interest in any and all property involved in each offense in violation of Title
18, United States Code, Sections 1957 , or conspiracy to commit such offense, for which
the defendant is convicted, and all property traceable to such property, includes, but
is not limited to, the real property identified in paragraph B.

D. lf any of the property described above, as a result of any act or omission
of the Defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Sections 982(b)(1) and 981(b)(1) and Title 28, United States

Code, Section 2461(0).

All pursuant to 18 U.S.C. §§ 981 and 982, 21 U.S.C. §853, and 28 U.S.C. §

2461(0).

A TRUE BILL:

ZRZ`D.ACTID

 

GRM\Ii) JURY FoREPERsoN

ALEXANDER C. VAN HOOK
United States Attorney

By:§b'_~\"_\/

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